         Case 1:21-mj-00216-ZMF Document 20 Filed 09/30/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 21-MJ-216
               v.                             :
                                              :
ADAM AVERY HONEYCUTT,                         :
                                              :
                      Defendant.              :

                    JOINT MOTION TO CONTINUE STATUS HEARING
                    AND EXCLUDE TIME UNDER SPEEDY TRIAL ACT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant Adam Avery Honeycutt, through counsel, respectfully

move to continue the status hearing scheduled for September 30, 2021, to November 15, 2021, and

to exclude time under the Speedy Trial Act.

       The defendant is charged via criminal complaint in this District with two counts related to

the January 6, 2021, attack on the U.S. Capitol. Specifically, he is charged with one count of

Knowingly Entering or Remaining in any Restricted Building or Grounds without Authority, in

violation of 18 U.S.C. § 1752(a), and one count of Violent Entry and Disorderly Conduct on

Capitol Grounds in violation of 40 U.S.C. § 5104(e)(2) (“Attack on the Capitol case”). On

February 11, 2021, the defendant had his initial appearance in the Middle District of Florida

following his arrest. He was advised of his rights, charges, and penalties. United States v.

Honeycutt, 3:21-mj-1067, ECF No. 2 (M.D. Fla. Feb. 11, 2021). On February 24, 2021, the

defendant waived his right to a preliminary hearing in this case. Id. at ECF Nos. 17, 18 (M.D. Fla.

Feb. 24, 2021).

       On June 1, 2021, the defendant pled guilty in the Middle District of Florida to one count

of knowingly possessing a firearm by an unlawful user of a controlled substance in violation of
          Case 1:21-mj-00216-ZMF Document 20 Filed 09/30/21 Page 2 of 3




18 U.S.C. §§ 922(g)(3) and 924(a)(2) (“Florida case”). The Florida case stemmed from the

execution of a search warrant on his residence in connection with the Attack on the Capitol case.

       The defendant is detained in the Florida case. His sentencing is scheduled for October 13,

2021. The government expects his guidelines range to be 30 to 37 months. The defendant was

initially detained in the Attack on the Capitol case, but this Court granted his consent motion to

release him from custody in the Attack on the Capitol case. ECF Nos. 12, 13.

       Government counsel and counsel for the defendant have communicated about a variety of

issues during the pendency of this case, including the defendant’s release, discovery, a protective

order, filter terms regarding the execution of a search warrant of the defendant’s cell phone, and a

plea offer. The government provided the defendant with preliminary discovery on September 14,

2021, and extended a plea offer on September 29, 2021. The defense needs additional time to

discuss the government’s plea offer, and if it wishes to accept it, the parties need time to formalize

the plea agreement in writing.

       The Speedy Trial Act requires that the government file an information or indictment against

a defendant within 30 days of arrest. 18 U.S.C. § 3161(b). However, the Act excludes any period

of delay when a judge grants a continuance and finds that “the ends of justice served by taking

such action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

§ 3161(h)(7)(A). Here, the exclusion of time through November 15, 2021, best serves the ends of

justice and outweighs the interests of the public and the defendant in a speedy trial and indictment.

The additional time will afford the defense with the opportunity to review informal discovery, to

request additional discovery, and to review the plea offer. To the extent the defendant elects to

accept the government’s plea offer, the additional time also will allow the parties to reduce the

                                                  2
         Case 1:21-mj-00216-ZMF Document 20 Filed 09/30/21 Page 3 of 3




agreement to writing. In addition, Chief Judge Howell’s Standing Order 21-47 excludes time

through October 31, 2021, in all cases that cannot be tried consistent with health and safety

protocols and limitations related to the COVID-19 pandemic. 1

       WHEREFORE, the parties respectfully request that the Court continue the hearing until

November 15, 2021, and exclude time through and including November 15, 2021, for purposes of

any computation under the Speedy Trial Act.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              ACTING UNITED STATES ATTORNEY

                                      By:       /s/ Kondi J. Kleinman
                                              KONDI J. KLEINMAN
                                              California Bar No. 241277
                                              Assistant United States Attorney
                                              Fraud Section
                                              555 4th Street, N.W.
                                              Washington, D.C. 20530
                                              (202) 252-6887
                                              Kondi.Kleinman2@usdoj.gov


                                              LOCKETT LAW
                                              /s/ L. Lee Lockett
                                              L. LEE LOCKETT
                                              Attorney for Defendant
                                              Florida Bar No.: 0128120
                                              1548 The Greens Way, Suite 2
                                              Jacksonville Beach, Florida 32250
                                              904-858-9818
                                              lee@lockettlaw.net




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 The government will file separate notices regarding the status of the government’s discovery
plan in relation to the Capitol Breach cases, which is likely the largest criminal prosecution in
United States history.
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